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                                                                                       FILED
                                                            ~Rr.P6~JmYdr~'&SAS
                        IN THE UNITED STATES DISTRICT COURT     NOV O7 2017
                              EASTERN DISTRICT OF ARKANSAS
                                          LIITLE ROCK                  ~esm:MMA~ CLERK
                                                                         y ~                        DEPCLERK
TAMARA BLANCHARD,


       v.
                Plaintiffs,
                                                !Cas4'.h
                                                 ) Hon.
                                                                 CV 1- ?,(i - s,_,u.._)

                                                 )
SYNCHRONY BANK,                                  )
                                                 )
                Defendant.
                                                 ) This case  a.ssign~   to District   Jud~.f ;~
                                                 ) and~ to .Magistrate Judge              ~.    r
                                                 )

                                           COMPLAINT

       NOW COMES Plaintiff, TAMARA BLANCHARD ("Plaintiff'), by and through her

attorneys, and for her Complaint against Defendant, SYNCHRONY BANK ("Defendant"),

Plaintiff hereby alleges as follows:

                                        INTRODUCTION

        1.      This action is brought by Plaintiff pursuant to the Telephone Consumer Protection

Act ("TCPA"), 47 U.S.C. § 227 et seq.

                                             PARITES

       2.       Plaintiff is a natural person at all times relevant residing in Cabot, Arkansas.

       3.       Defendant is a business entity headquartered in Draper, Utah.

       4.       Defendant acted though its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.

                                 JURISDICTION AND VENUE

       5.       Jurisdiction ofthis court arises pursuant to 28 U.S.C. § 1331and47 U.S.C. § 227.
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        6.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as the acts and transactions

giving rise to this action occurred in this district as Plaintiff resides in this district and Defendant

transactions business in this district.

                                    FACTUAL ALLEGATIONS

        7.      Around June 2017, Plaintiff began receiving phone calls from Defendant on her

cellular telephone.

        8.      Telephone number                      is assigned to Plaintiffs cell phone.

        9.      These calls are not for emergency purposes.

        10.     These calls are made in connection with a credit card account.

        11.     Defendant called Plaintiffs cell phone on consecutive days, including mornings,

nights, and weekends.

        12.     Upon information and good faith belief, based on the frequency, number, nature

and character of these calls, Defendant placed these calls using an automatic telephone dialing

system for purposes of the TCPA.

        13.     On or about June 22, 2017, Plaintiff spoke with Defendant and instructed Defendant

to stop calling her cell phone.

        14.     Defendant continued to call Plaintiffs cell phone after June 22, 2076.

        15.     Defendant continued to place calls to Plaintiffs cell phone on consecutive days, at

times three times per day, including mornings, nights, and weekends.

        16.     Plaintiff estimates Defendant called his cell phone at least ninety-three (93) times.

        17.     Upon information and good faith belief, Defendant used an automatic telephone

dialing system to place each and every call to Plaintiffs cell phone.




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        18.     Defendant did not have Plaintiffs express consent to use an automatic telephone

dialing system to place these calls.

       19.      Defendant knew that it did not have Plaintiffs express consent to use an automatic

telephone dialing system to place these calls.

       20.      Defendant placed these calls voluntarily.

       21.      Defendant placed these calls under its own free will.

       22.      Defendant willfully used an automatic telephone dialing system to place these calls.

       23.      Plaintiff is annoyed and feels harassed by Defendant's calls.

                                    CLAIM FOR RELIEF
                              Telephone Consumer Protection Act

       24.      Defendant's actions alleged supra constitute numerous negligent violations of the

TCPA, entitling Plaintiff to an award of$500.00 in statutory damages for each and every violation

pursuant to 47 U.S.C. § 227(b)(3)(B).

       25.      Defendant's actions alleged supra constitute numerous and multiple knowing

and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant for the

following:

       (1) Statutory damages of $500.00 for each and every negligent violation of the TCPA

pursuant to 47 U.S.C. § (b)(3)(B);

       (2) Statutory damages of $1500.00 for each and every knowing and/or willful violation of

the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

       (3) All court costs, witness fees and other fees incurred; and



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      (4) Awarding such other and further relief as may be just, proper and equitable.




Dated: November 1, 2017

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